                            Case 2:09-cr-00320-AJS Document 59 Filed 08/03/10 Page 1 of 1




                                          IN THE UNITED STATES DISTRICT COURT
                                                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA


.-; ;UN;. ; . ;.; . IT:. .: E=D.-; ;S;. ;:,T.;,. :;A. .;.,.TE=S:;. .,;O:;. .:F. . ,; A. .,; ; M.;.; ,;E=RI..=,c=A;. .: --_ _ )
-----------------)

------------------))
                                                         vs.                                                               )                                     CRIMINAL NO. 09-320
~H~A=RD~y_"'C=A=R=R=OL=L~L=L=O~y=D~_____                                                                                   )
-------------------)

--------------------)

               Defendants )


                                                                          HEARING ON                                    ,...;:S=EN.;....;.T=E=N.:..;:C=IN~G=--   _______________

                                                                                                 Before                    JUDGE DIAMOND

  Margaret E. Picking, AUSA                                                                                                                           ...:;.Jo=h=n..;..;;A..;..;;.Kn=oIT:..;;.;,...=E=S9..:..'_ _ _ _ __


                                                                  Appear for Plaintiff                                                                                                  Appear for Defendant

  Hearing Begun                                   8/3110                  11 :30 a.m.                                                                 ...:..H:..:..lrg::l..:A~d=io=urn=ed:....:.;to:::.-_ _ _ _ _ _ __


 Hrg concluded c.A.Y.                                             1,,1"-0 f,rj\'                                                                        Stenographer         7a:1v-i £..4'4 ~~
                                                                                                                           WITNESSES
                                           For Plaintiff                                                                                                                     For Defendant
